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                                      MINUTES



   CASE NUMBER:            CV NO. 14-00217HG-KSC
   CASE NAME:              Cara Barber, et al. Vs. Ohana Military Communities LLC, et
                           al.
   ATTYS FOR PLA:          Terrance M. Revere
   ATTYS FOR DEFT:         Randall C. Whattoff
                           Christine A. Terada
   INTERPRETER:


        JUDGE:      Kevin S. C. Chang             REPORTER:        None

        DATE:       09/13/2016                    TIME:            9:28am-9:56am


  COURT ACTION:              EP:    Status Conference Re-[ECF No. 353] Motion to
                                    Quash Subpoena

  Discussion Held regarding the Motion to Quash Subpoena.

  Court will notify Counsel as to the Court Hearing Date before this Court as to the Motion
  to Quash Subpoena.

  Further Status Conference set for September 27, 2016 at 9:30 a.m. before Magistrate
  Judge Kevin Chang.

  This Further Status Conference is hereby moved to September 28, 2016 at 10:00 a.m.
  before Magistrate Judge Kevin Chang from September 27, 2016.

  Submitted by Leslie L. Sai, Courtroom Manager
